               Case 1:06-cr-00004-AWI Document 46 Filed 08/12/08 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7                     IN THE UNITED STATES DISTRICT COURT FOR THE
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
10
         UNITED STATES OF AMERICA,           )               Case No.: 1: 04-CR-05356-AWI
11                                           )               (Consolidated with 1:06-CR-
                                             )               00004 AWI)
12                         Plaintiff,        )
                                             )
13              v.                           )               ORDER ON REQUEST FOR
                                             )               RETURN OF PASSPORT FOR
14       NIJJAR BROTHERS TRUCKING,           )               RENEWAL
         INC, et al.,                        )
15                                           )
                           Defendants        )
16       ____________________________________)
17
18           Defendant Sukhwinder Singh filed a request for the return of his passport. The sole
19   purpose of the request is so that Defendant Sukhwinder Singh may renew his passport. The
20   request states in pertinent part:
21
22           “SUKHWINDER SINGH’s passport expires within the next three (3) weeks. (See
23   attached copy). In light of the backlog and difficulty in obtaining passports, it is requested that
24   the Court return the passport solely for Mr. SUKHWINDER SINGH to utilize to obtain a new
25   passport. Upon obtaining a new passport, he will surrender it to the Court upon the Court’s order
26   or request. The only purpose for returning the passport at this time is so that Mr.
27   SUKHWINDER SINGH can apply for a new passport as his passport is expiring, after ten years,
28   on or about August 27, 2008.”
               Case 1:06-cr-00004-AWI Document 46 Filed 08/12/08 Page 2 of 2


 1          The Assistant United States Attorney assigned to this case has consented to the return of
 2
     Defendant Sukhwinder Singh’s passport on condition that, the passport will be returned for the
 3
     sole purpose of renewing it and that the new passport will be immediately returned to the
 4
     probation department.
 5
 6
 7          Accordingly, in light of the stipulation by the parties, IT IS HEREBY ORDERED that the
 8
     passport of Defendant Sukhwinder Singh shall be returned to his attorney, Timothy Magill, for
 9
     the sole purpose of renewing it. It is further ordered that upon receipt of the renewed passport,
10
     Defendant Sukhwinder Singh will immediately surrender the renewed passport to the probation
11
12   department.

13
14
     IT IS SO ORDERED.
15
     Dated:     August 11, 2008                        /s/ Anthony W. Ishii
16   0m8i78                                   CHIEF UNITED STATES DISTRICT JUDGE
17
18
19
20
21
22
23
24
25
26
27
28                                                    2
